                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re
                                                           Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al., 1                                             Chapter 11
                                                           Hon. Lisa S. Gretchko
     Debtors.                                              Jointly Administered
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                           STIPULATED ORDER
                     ADJOURNING STATUS CONFERENCE

        The Court conducted a status conference on May 13, 2022 regarding the

Amended Plan of Liquidation (“Amended Plan”; ECF No. 200) filed by Silverside

Senior Living, LLC and Graceway South Haven, LLC (collectively, the “Debtors”)

and determined that a further status conference is appropriate prior to further

amendments to the Amended Plan and/or service of a further amended plan. A

stipulation (“Stipulation”; ECF No. 224) among the Debtors, Chippewa Valley,

LLC, the United States Trustee, the U.S. Attorney (on behalf of IRS and HHS) and

the Subchapter V Trustee has been filed, consenting to the terms of this order. The

Court finds good cause to enter this order.




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  The debtors in these jointly administered proceedings along with the last four digits of their
respective federal tax id numbers are Silverside Senior Living, LLC (2357) [Case No. 21-44887-
lsg] and Graceway South Haven, LLC (9393) [Case No. 21-44888-lsg].



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        NOW THEREFORE, IT IS HEREBY ORDERED that the Status

Conference conducted on May 13, 2022 is adjourned to June 22, 2022 at 3:00 p.m.

eastern standard time. This will be a telephonic status conference.

        IT IS HEREBY ORDERED that the Debtors shall file a Status Conference

and Progress report no later than 12:00 noon on June 22, 2022 updating the Court

on any significant developments since the Status Conference conducted on May 13,

2022.

        IT IS FURTHER ORDERED that the provisions in the Order to Amend

Plan and Scheduling Status Conference entered on December 27, 2021 (ECF No.

169) not otherwise modified by this Order shall remain in effect.



Signed on May 17, 2022




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